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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:06CR312
                                              )
MARIO AYALA-REYNA,                            )                 ORDER
                                              )
                    Defendant.                )




       Before the court is defendant’s Motion to Continue [42] requesting a continuance
of the hearing scheduled for October 19, 2006. Good cause being shown, the motion is
granted and the hearing will be continued.

      IT IS ORDERED:

      1.     That the defendant’s Motion to Continue [42] is granted; and

      2.     That the hearing on the Petition for Action on Conditions of Pretrial
             Release [24] is continued to October 26, 2006 at 2:00 p.m. before
             Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
             Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska

      Since this is a criminal case, the defendant must be present, unless excused by
the Court. An interpreter will be provided by the Court.

      DATED this 19th day of October, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
